    Case 1:88-cr-00145 Document 8 Filed 07/05/13 Page 1 of 3
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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,    .
                              .
          Plaintiff,          .       CR No. 88-0145
                              .
     v.                       .
                              .
 ELIZABETH DUKE,              .       Washington, D.C.
                              .       Tuesday, June 17, 2009
          Defendant.          .
 . . . . . . . . . . . . . . ..



                 TRANSCRIPT OF STATUS CONFERENCE
             BEFORE THE HONORABLE DEBORAH A. ROBINSON
                 UNITED STATES MAGISTRATE JUDGE


APPEARANCES:

For the Government:              M. JEFFREY BEATRICE, ESQ.
                                 U.S. Attorney's Office
                                 555 Fourth Street, NW
                                 Room 4104
                                 Washington, DC 20530
                                 (202) 353-8831

Transcribed By:                  BRYAN A. WAYNE, RPR, CRR
                                 Official Court Reporter
                                 U.S. Courthouse, Room 4704-A
                                 333 Constitution Avenue, NW
                                 Washington, DC 20001
                                 (202) 354-3186




Proceedings electronically recorded and transcribed.
         Case 1:88-cr-00145 Document 8 Filed 07/05/13 Page 2 of 3
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 1                            P R O C E E D I N G S

 2              THE DEPUTY CLERK:     Criminal case No. 88-145,

 3   Elizabeth Duke.    For the government, Mr. Beatrice.

 4              THE COURT:    Mr. Beatrice.

 5              MR. BEATRICE:    Thank you, Your Honor.       We would orally

 6   move to dismiss this case at this time, dismiss the indictment

 7   and also to quash the warrant, and we will submit a proposed

 8   order today, Your Honor.

 9              THE COURT:    Very well.    Thank you, Mr. Beatrice.

10                           (Proceedings adjourned.)

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    Case 1:88-cr-00145 Document 8 Filed 07/05/13 Page 3 of 3
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                               CERTIFICATE

           I, BRYAN A. WAYNE, Official Court Reporter, certify

that the foregoing pages are a correct transcript from the

record of proceedings in the above-entitled matter.

                          __________________
                          BRYAN A. WAYNE
